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IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
IN RE: OIL SPILL BY THE OIL RIG MDL No. 2179
“DEEPWATER HORIZON” IN THE GULF

§
§
OF MEXICO, ON APRIL 20, 2010 §
§ SECTION: J
THIS DOCUMENT RELATES TO: §
§
All cases in Pleading Bundle Section § JUDGE BARBIER
TH. B(3) (the “B3 Bundle”) §

§
2:1 1-cv-00951-CIB-SS § MAGISTRATE JUDGE SHUSHAN

PLAINTIFFS’ NOTICE OF SUBMISSION OF MOTION FOR LEAVE TO AMEND
COMPLAINT AND JOINDER OF CERTAIN PERSONAL INJURY CLAIMANTS INTO
PLEADING BUNDLE “B3”

PLEASE TAKE NOTICE that Plaintiffs’ Motion for Leave to Amend Complaint and Joinder of
Certain Personal Injury Claimants into Pleading Bundle “B3,” has been set for consideration on
the Court’s docket for Wednesday, June 22, 2011, at 9:30 a.m.

Respectfully submitted,

BRENT COON & ASSOCIATES

/s/ Brent W. Coon

Brent W. Coon

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing pleading has been electronically filed
through the Court’s CM/ECF system and/or LexisNexis File & Serve, in accordance with Pretrial
Order No. 12, which will send a notice of electronic filing to all counsel of record today, May 13,

2011.

/s/ Brent W.. Coon
Brent W. Coon

